Case 3:18-cv-01059-NJR Document 130-2 Filed 03/30/20 Page 1 of 1 Page ID #607
   Case:Case:
         18-3735
               18-3735
                    Document:
                        Document:
                              00713589501
                                  93      Filed: Filed:
                                                 03/05/2020
                                                        03/27/2020
                                                                Pages:
                                                                    Pages:
                                                                       1   1



     UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT



Everett McKinley Dirksen United States Courthouse                                   Office of the Clerk
        Room 2722 - 219 S. Dearborn Street                                         Phone: (312) 435-5850
             Chicago, Illinois 60604                                               www.ca7.uscourts.gov




                                                     FINAL JUDGMENT
 March 5, 2020


                                              DIANE P. WOOD, Chief Circuit Judge
    Before:
                                              MICHAEL S. KANNE, Circuit Judge

                                              AMY C. BARRETT, Circuit Judge


                                         MARION HEALTHCARE, LLC, et al.,
                                         Plaintiffs - Appellants

 No. 18-3735                             v.

                                         BECTON DICKINSON & COMPANY, et al.,
                                         Defendants - Appellees

 Originating Case Information:

 District Court No: 3:18-cv-01059-NJR-RJD
 Southern District of Illinois
 District Judge Nancy J. Rosenstengel


We VACATE the judgment of the district court and REMAND for further proceedings in
accordance with this opinion.

The above is in accordance with the decision of this court entered on this date. Each side will
bear its own costs.




 form name: c7_FinalJudgment(form ID: 132)
